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Tracee Quinnell                                                          May 08, 2018



               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                     SAN ANTONIO DIVISION

 EQUAL EMPLOYMENT         )
 OPPORTUNITY COMMISSION,)
                          )
      Plaintiff,         )
                         )
      V.                 )Civil Action No.
                         )5:16-cv-00758-FB-RBF
 NABORS CORPORATE        )
 SERVICES INC., AND C&J )
 WELL SERVICES, INC.,    )
                         )
      Defendants.        )
                           *   *   *    *   *   *

 VIDEOTAPE
 DEPOSITION OF:                        TRACEE QUINNELL

 DATE:                                 MAY 8, 2018

 TIME:                                 8:53 a.m. - 6:25 p.m.

 PLACE:                                HAMPTON INN & SUITES
                                       62 PINE RIDGE ROAD
                                       BLAIRSVILLE,
                                       PENNSYLVANIA 15717

 REPORTER:                             SUSANNA C. ENGLERT




                               *   *    *   *   *   *




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       APPEARANCES:
 2
       Appearing on behalf of the Plaintiff:
 3
              DAVID RIVELA, ESQUIRE
4             EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
              5410 Fredericksburg Road, Suite 200
 5            San Antonio, Texas 78229-3555
 6     Appearing on behalf of the Defendant:
 7            JAMES M. CLEARY, ESQUIRE
              MARTIN, DISIERE, JEFFERSON & WISDOM
 8            808 Travis, 20th Floor
              Houston, Texas 77002
 9
       Also Present:
10
              BRANDON WILCZEK, VIDEOGRAPHER
11
12
                                    STIPULATION
13
            It is stipulated and agreed by and among
14     counsel for the respective parties and the deponent
       that the inspection, reading and signing of the
15     deposition may be and are waived.
16
17

18
19
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21

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23
24
25


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1      your previous answers.
2                      Is there something that you wanted to
3      clarify for the record?
4            A         Yes, please.       I apologize.            I don't
5      think I was understanding your question properly.
6                      Sure.
 7           A         I was answering your question about
 8     if -- if the legal team was guiding.                       I was
 9 *answering that in a broad scope of my job as a
10 Atmhole.       And they don't typically do that.                     I
11     didn't realize that you were asking specific to
12     this investigation here.
13                     And after the first report from Duane
14     Jewell to John Lewis, I did go to, I believe it
15     was Grant Dorfman, and then Nabors did -- Nabors
16     law department did guide the investigation from
17     there.
18                     So I apologize.         I was answering in
19     broad scope, not just for this investigation.
20                     Okay.    Okay.     And I'm going to go into
21     a little bit more specifics when we start going
22     through the documents
23           A         Okay.
24                     -- concerning the investigation.
25     Before we get into that investigation, let me ask

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 1     off that we had re-reviewed the business -- the
2      code of business conduct and numerous other
 3     policies from Nabors.
4                      Okay.    Let me just go over that real
5      quick.     I've got some exhibits that were
6      provided -- some documents that were provided by
 7     NCPS.
 8                     MR. RIVELA:       Mark this as an exhibit,
 9     please.
10                     (Quinnell Exhibit No. 5 marked for
11     identification, attached hereto.)
12     BY MR. RIVELA:
13                     I've handed you what's been marked as
14     Exhibit 5 for identification.
15                     Do you recognize this document?
16           A         It looks vaguely familiar, yes.
17                     Was this training that had been
18     provided         or did you receive this particular
19     training in this -- in this particular document?
20           A         I don't remember exactly receiving it,
21     but it looks like something that I would and
22     should have received, yes.
23                     Did Julia Wright ever provide personal
24     training to you -- or let me rephrase that.
25                     Did Julia Wright do a presentation that

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 1     you attended concerning harassment and
 2     retaliation?
 3           A         Yes.
 4                     MR. RIVELA:              have this marked as
 5     an Exhibit.
 6     BY MR. RIVELA:
 7                     Do you know whether this -- was this
 8     particular training, Exhibit No. 5, was that
 9     provided to other employees of NCPS?
10           A         I believe this was training that we
11     asked Julia to do, and I believe it was given to
12     at least to our management level employees.
13                     We you say "we asked them to do," who
14     asked her to do --
15           A         NCPS.
16                     Okay.    Was that a request by Frank
17     Labrenz?        Was it somebody individually that made
18     the request, or do you recall?
19          A          I would say I would have made the
20     request.
21                     Okay.
22                     MR. RIVELA:       Could I have this marked
23     as Exhibit 6, please.
24                     (Quinnell Exhibit No. 6 marked for
25     identification, attached hereto.)

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 1     your previous answers.
 2                     Is there something that you wanted to
 3     clarify for the record?
 4           A         Yes, please.       I apologize.            I don't
 5     think I was understanding your question properly.
6                      Sure.
 7           A         I was answering your question about
 8     if        if the legal team was guiding.                   I was
 9     answering that in a broad scope of my job as a
10     whole.     And they don't typically do that.                       I
11     didn't realize that you were asking specific to
12     this investigation here.
13                     And after the first report from Duane
14     Jewell to John Lewis, I did go to, I believe it
15     was Grant Dorfman, and then Nabors did -- Nabors
16     law department did guide the investigation from
17     there.
18                     So I apologize.         I was answering in
19     broad scope, not just for this investigation.
20                     Okay.    Okay.     And I'm going to go into
21     a little bit more specifics when we start going
22     through the documents
23           A         Okay.
24                     -- concerning the investigation.
25     Before we get into that investigation, let me ask

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 1     through it and then I can make a decision if I
 2     think more people need to be interviewed, if
 3     additional questions need to be asked.                     I would
 4     ask those questions after she submits the report
 5     to me.
 6           4         Okay.     Do you recall reviewing this
 7     particular report?
 8          A          Yes.
 9           4         And if I recall, Miss Nguyen basically
10     is concluding that there was no discrimination
11     found by Mr. Bicknell?
12           A         That's what it reads.
13           4         Is that what you were notified by
14     Miss -- or do you recall, did she tell you that?
15          A          I was given this report.
16           Q         Okay.     Now, when -- after an initial
17     investigation has been done, such as here with
18     respect to Mr. Parrish, now was it the practice
19     for Deidre Nguyen to send you a preliminary
20     report as to what she was going to recommend?
21          A          No.     As I said, she would send me this
22     actual report
23           Q         Okay.
24           A         -- and then I would look it over and
25     ask questions if I had them.

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 1                     Now, from your perspective, once you
2      got this particular report, did you notify
3      anybody from NCPS concerning the report?
4            A         Oh, of course.        I would have had to
5      notify the management team.
6                      Which management team had -- or who on
 7     the management team would you have notified?
8            A         I would have had to notify John Lewis,
 9     and potentially Rick Jacquier, who was John's
10     boss.     I don't know whether I did or not, but
11     typically, something of this level, I would have
12     notified Rick as well.
13                     Was Rick Jacquier involved in the
14     decision-making as to what actions to take
15     concerning this investigation?
16           A         Yes, he was.
17                     Did Mr. Jacquier have any involvement
18     in any decision to terminate Mr. Parrish by NCPS?
19           A         We would have ran it past him, of
20     course.
21                     Did he ultimately instruct NCPS
22     management to terminate Mr. Parrish?
23           A         I don't remember if it was him, but
24     management does always have the ultimate
25     decision.        HR doesn't have that power, if you

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 1     will.     We make a recommendation, but it's always
2      management's decision to do a termination.
3           4          Now, with respect to terminating
4      Mr. Parrish, was -- did -- you have Rick
 5     Jacquier, who was, you said, would have been --
6      that he would have been part of the process, I
 7     guess, of deciding what to do.
 8                     Was there anybody else from Nabors
 9     management who was part of that process
10     concerning Mr. Parrish?
11           A         Are you asking me if legal was involved
12     or --
13           Q         Well --
14           A         When you say "Nabors," that means
15     parent company to me.
16                     With respect to Parrish, were they also
17     part of that process?
18           A         Yes, legal was involved, yes.
19                     Okay.     Was there anybody in particular
20     from legal who you recall being involved in that
21     decision?
22           A         I don't remember specifically, but I
23     think at this point we had Julia Wright involved.
24                     Okay.     And I'm not going to ask you
        oncerning advice, but -- or what specifically

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 1                     Did you ever come down and visit with
 2     Miss Nguyen-Do in her regional office in
 3     Pleasanton, Texas?
4            A         Yes.
5                      Did you ever go over any of the
6      documents in her files?
 7           A         I never dug through her files.
 8                     Okay.    Did you give any instructions to
 9     your regional managers as to the proper method of
10     maintaining records as to investigations?
11           A         Yes.
12                     Okay.    And was part of that
13     instruction -- did you tell them, "You need to
14     keep your notes of these investigations
15     maintained in the file?
16           A         Certainly.      When there was a
17     preservation of records request, we asked that
18     everything was kept together.
19                     Now, with respect to this investigation
20     concerning Parrish, at any point did you ever go
21     back and review the records of Mr. Par- -- of the
22     investigation of Mr. Parrish's allegations?
23           A         What do you mean "the records"?
24                     Like whatever records of an
25     investigation file -- that were maintained in a

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1      file.
2            Q         Who is Wilma?
3           A          Wilma Southern was our file clerk.
4            Q         She worked in Houston or in --
5            A         She worked in Houston, under me.
6            Q         So this document would have been kept
7      in Houston in the NCPS HR department's files?
8            A         Yes.    It would have been kept there
 9     along with the dated files that were kept in my
10     office.
11           Q         Did you -- were you supportive of
12     Miss Nguyen-Do in -- or first of all, do you know
13     how this came about?            Who was the person who
14     actually made the decision to go ahead and issue
15     a counseling to Mr. Parrish concerning the
16     investigation?
17           A         Deidre would have run that past me.
18           Q         Okay.    Did she have to get permission
19     from anybody in NCP -- anybody else in NCPS
20     concerning that recommendation?
21           A         We would have run this past legal as
22     well.
23           Q         Okay.    So before it was done, it would
24     have been run past legal?
25           A         Yes.

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 1     department for further investigation?
 2           A 1       Yes, they would have been aware.
 3                     In this case, did they investigate
4      further?
5            A         I don't know.
6                      If they had, would there have been some
 7     record that would have been kept by NCPS?
 8                     MR. CLEARY:       Objection.        Calls for
 9     speculation.        Lack of foundation as to this
10     witness.
11                     THE WITNESS:       I don't know where
12 'legal's records were kept.
13     BY MR. RIVELA:
14                     If there had been a further
15     investigation of the allegations by NCPS HR,
16     would those records have been maintained as part
17     of a file by NCPS HR department?
18           A         If I had anything further, yes, they
19     would have been kept together.
20                     Would it have violated the company's
21     policies if Deidre Nguyen-Do had not maintained
22     those records?
23           A         I don't know if there was a
24     preservation of records request sent out.                      And
25     that's when records we mandated they should be

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1      maintained.        Beyond that, what she maintained in
2      her notes, I was comfortable with here.
3                      When you say a "preservation of records
4      request," can you explain to the Court, what are
5      you referring to?
6            A         Yes.   Legal sometimes in situations,
7      they would sent out a preservation of records
 8     request notifying anybody who might have any hand
9      in an e-mail, a handwritten note, any type of
10     communication regarding a situation and -- that
11     nothing was to be destroyed, everything had to be.
12     kept.
13                     Now, with respect to Mr. Parrish's --
14     this investigation, we know at a certain point
15     there had been a charge filed by Mr. Parrish.
16                     Before I get to that question, the
17     request, would it have been made to the director
18     of human resources if there had been a
19     preservation request made by legal concerning an
20     investigation?
21           A         It would go typically to the director
22     of human resources.            It would also go to the IT
23     department.
24                     And I guess, just so I'm clear -- so
25     you're clear on the record, do you know whether

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1      or not, with respect to Mr. Parrish's -- the
2      investigation notes of Mr. Parrish, was there
3      ever a preservation request made as to those
4      documents that were part of the investigation?
5            A         I --
6                      MR. CLEARY:       Objection.       Asked and
7      answered.
8      BY MR. RIVELA:
9            Q         The question
10           A         I don't know.
11           Q         You don't know, okay.
12                     Now, would you agree that at the time
13     that the decision was made to terminate
14     Mr. Parrish that you understood there could be
15     legal consequences to terminating Mr. Parrish?
16           A         Not to terminating him.            I wanted to
17     take a look at the situation and make sure our
18     actions were not retaliatory before we
19     recommended the termination.
20           Q         Okay.    But you did, for the report,
21     this particular e-mail from Miss Nguyen-Do does
22     mention that Mr. Parrish is of a protected
23     class -- or because Mr. Parrish is a protected
24     class, we have to deal with some legal and/or
25     governmental agencies letter [sic] -- we may have

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 1     this, but it's unclear who actually is being
 2     interviewed.
 3                     Or first of all, I guess before I get
 4     to that: What are the notes -- what was being
 5     recorded in these notes?
 6           A         So after Duane Jewell talked with John
 7     Lewis, we immediately, same day, started looking
 8     into the situation.            And I physically left, I
 9     believe, the next morning and drove myself --
10     drove or flew to Pleasanton and then sat down
11     with employees there to get their side of the
12     story to see if we had an issue.
13                     Do you know what Duane Jewell was
14     specifically reporting to John Lewis?                      What did
15     he specifically tell him was going on that he
16     felt was discriminatory?
17           A         I can't remember.         I sent an e-mail, I
18     believe, to either John -- I sent it to John or
19     John sent it to me after with the details.                      But I
20     don't recall them specifically.
21                     Did you send an e-mail the day that
22     John Lewis informed you as to what Duane Jewell
23     was alleging?
24           A         Yes, I believe I sent an e-mail to
25     legal that day.

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    1     conference room during those interviews?
    2          A           No, there was never a camera in there.

.
    3           Q          The questions that you provided -- or
    4     that you asked, were you given any sort of
    5     suggestions as to what information should have
    6     been garnered from these witnesses?
    7           A          Sure.   Legal gave me some guidance on
    8     what to ask.
    9           Q          So the first person who was
10        interviewed, was that Duane Jewell who you
11        interviewed first?
12             A           I don't know what order these
13        interviews went in.
14              Q         And they don't have any dates on it.
15        So I'm wondering if you would remem- -- like,
16        were these all during the course of a week, or
17        was it a longer period, or do you know what
18        period of time it took to get these interviews
19        done?
20             A           I believe these were done in the course
21        of just a couple days.
22              Q         A couple of days.         Who made the
23        decision as to who actually to interview in
24        these           in these interviews?
25              A          Julia Wright and I.         But Julia.

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1      by James Hacker; is that right?
2            A         Yes.
3            Q         And so are those numbers, do they
4      correlate with questions that you had written out
5      to ask James Hacker?
6            A         I believe I had written questions to
7      ask James Hacker, not the other employees.                      So
8      yes, that's what they would correlate with.
9                      Okay.    Did you happen to keep a copy of
10     the questions that you had actually asked James
11     Hacker?
12           A         I don't know.        If it's not attached to
13     here, then I would say it's not available.
14                     Did you ever document the substance of
15     the discussion -- of the interviews that you had
16     with these witnesses in another format after
17     these interviews were conducted?
18           A         That was a really messy question.                 Can
19     you try again?
20                     Let me just get to -- let me ask you a
21     more direct question.
22                     Are there e-mails or reports that you
23     created that documented the substance of what
24     information was told to you by these witnesses?
25           A         Yes, there are.        And they're from me

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 1     compiling everything, sending to legal.
2                      So you sent them to Nabors Corporate
 3     Services legal department?
4            A         To, I believe, Julia Wright, maybe
5      directly.
6            QA        Okay.    Were any of those e-mails -- or
 7     did you send any sort of documentation to anybody
 8     else?      I'm not talking about the ones you sent to
 9     legal, but were there other ones you sent to
10     other people within Nabors -- NCPS?'
11           A         I don't believe so.          During the course
12     of the investigation, all of my information was
13     sent just to legal.
14                     Did Deidre Nguyen ever send you any
15     sort of documentation that she might have created
16     concerning these interviews?
17           A         I don't remember.
18                     At a certain point, did -- did you
19     receive a -- I'm trying to remember the term you
20     used previously in your testi- -- deposition.                        An
21     order to preserve documents.
22                     Do you know what I'm talking about?
23           A         Preservation of records.
24                     A preservation of records that you
25     described.

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1      record.         The time is 2:11:00 p.m.
2                       (Break taken in the deposition.)
3                       THE VIDEOGRAPHER:        We are on the
4      record.         The time is 2:21 p.m.
5      BY MR. RIVELA:
6            Q          Miss Quinnell, we were referring -- we
 7     stopped in my questions to you.                 We were on
8      Nabors/EEOC 011646.            And this has to do with Zach
 9     Johnson I believe his name is.                 Is that right?
10           A          Yes.
11           Q          Okay.    Let me see if I can speed this
12     up a little bit.
13                      Did Zach Johnson mention to you that he
14     was on an insulin pump and has diabetes during
15     the interview?           Is that what he -- what you're
16     documenting on this?
17           A          Well, back up.       You asked me why I
18     interviewed him.
19           Q          Okay.    Yes.
20           A          And so I looked on the break.
21           Q          Okay.
22           A          It's because Trevor Corley had brought
23     up Zach's name.          So that's why I interviewed
24     Zach.
25           Q          Okay.   Okay.     Thank you.

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1      because I think the documents relating to this
2      investigation, I think we actually attached.
3                      Okay, let me just refer this to you.
4      It's EEOC 001706.           This is Exhibit No. 3 for
5      identification.
6                      Sorry, could I take a look at this for
 7     a second?        I want to make sure the document we're
 8     looking at is -- okay.             Yes.
 9           A         It seems right.
10           Q         Okay.    I just wanted to...
11           A         Okay, I've reviewed.
12           Q         Okay.    So the document that's marked
13     EEOC 00106 on Exhibit 3, was that a report that
14     was submitted to the hotline?
15           A         Sorry, what was the number?
16           Q         I think it was 1 -- 00106, I believe.
17     The one you just reviewed I'm talking about.
18           A         Okay.
19           Q         I don't have a copy with me.               Is it
20     001706, right --
21           A         Correct.
22           Q         -- the document?
23                     Is that a report that's generated when
24     an employee or somebody contacts the HR hotline?
25           A         Yes, it is.

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1                      Okay.    And was thip,something that was
 2     brought to the attention of the NCPS human
3      resources department?
4           A          Via legal, yes.
5                      Was there an investigation of the
6      allegations made by -- was this -- does it
 7     include allegations made by Zach Johnson in this
8      particular document?
9           A          Yes.
10                     And was he basically saying he thought
11     he was being retaliated against for speaking to
12     NCPS human resources?
13           A         I don't think he used those words, no.
14                     Did he tell human resources that he
15     thought somebody had given Chris Jones
16     information about what he had told them in
17     confidence during his interview?
18           A         He did think that.
19                     Was there any investigation conducted
20     by NCPS as to whether or not information had been
21     leaked to Chris Jones?
22           A         Yes.    But it's included here.
23                     Do you know -- from your knowledge, was
24     there -- what was the result of the
25     investigation?

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1            A         Deidre.
2                      Did you ever talk with him directly
3      concerning his report to the hotline?
4            A         Not with this claim, no.
5                      Now, going back to Exhibit No. 15, the
6      next page -- this is the one marked Nabors --
7      it's marked Nabors/EEOC 011648.
8            A         Okay.
9                      Does this particular page document a
10     call from Trevor Corley that you received
11     concerning an incident in the work site after he
12     was interviewed by NCPS?
13           A         Yes.
14                     Now, did you receive -- did he call you
15     directly?
16           A         He called my cell phone.             I was sitting
17     in the conference room at the Pleasanton office.
18                     And when he talked to you, what
19     specifically did he tell you, if you remember?
20     What was his version of what happened?
21           A         Exactly what I wrote here.                 Heath tried
22     to pull him out of the truck.                Trevor got it
23     shut -- which I believe was the door -- and took
24     off.      He is scared.
25                     Now, would you agree that your notes

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1      don't indicate any sort of reason why Heath would
2      have pulled him out of the truck?                  He doesn't
3      describe in these notes what reason Heath
4      purportedly tried to pull him out of the truck?
5            A         It says right below there, Heath said,
6      did you tell Brian I don't know how to run the
7      floor pump.
8                      So according to these notes, the reason
9      why Heath told -- or Heath supposedly asked him
10     about whether he told Brian he doesn't know how
11     to run the floor pump?
12           A         Yes.
13                     So that was the comment made to him
14     about why -- that's the comment that prompted
15     this incident involving Heath?
16           A         That's what Trevor said.             And Trevor
17     was there.
18                     And then did you talk to -- it says,
19     "Brian tried to calm Heath down."
20                     Is that a comment made by Trevor
21     Corley?
22           A         Yes.
23                     "And Heath just tried to pull Trevor
24     out of truck"?
25           A         Yes.

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 1                      And then below that it's got a date.
 2      Is he saying that this happened around 1:00 P•
 3      on October -- is that October?
 4            A         That looks like 5th.
 5                      Okay.    2012?
 6            A         I would say that's correct.
 7                      And then you wrote, "Danny standing
 8      out, telling everyone what's" -- and what did you
 9      write?
10            A         I don't know.        I didn't write anything
11      else.
12                      What was Danny -- what did Corley claim
13      Danny was standing out telling people?
14            A         I don't know.        I didn't finish the
15g     sentence.
16                      Then after Trevor called you, did you
17      call Brian Turner?
18            A         I pulled Brian into the office.
19                      Okay.    And so the notes at the bottom
20      of this page reflect what he said when he was
21      interviewed by you?
224'          A         Yes.
23                      Was John Lewis also present during this
24      interview?
25            A         I believe he was.

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1            Q         What about Deidre?
2            A         I don't know if Deidre was.
3            Q         so is he claiming -- is Brian Turner
4      claiming that Trevor is the person who instigated
5      this incident?
6            A         He said that Trevor said something to
7      Heath, and then that Trevor kicked the door open
8      at Heath.
9            Q         And then did you write, "said Trevor
10     likes to run his"?
11           A         Yes.    And he said "mouth," and I don't
12     know why I didn't write that.
13           Q         Okay.    And then below that it looks
14     like you wrote "cameras," right?
15           A         Yes.
16           Q         Did you check any sort of cameras at
17     the work site?
18           A         That was a note to me to find out if we
19     could pull the cameras.
20           Q         Was there a video camera in the
21     location where this incident purportedly
22     happened?
23           A         There are cameras outside.
24           Q         Did you all pull the camera or video to
25     see if there was any sort of video evidence of

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 1      what happened?
 2            A         I don't have that authority.               I had to
 3      send that request to legal.
, 4                     Did you actually do that request?
 5            A         I did.
 6                      Did you get any sort of response?
 7            A         I don't know if I can tell you that.
 8            Q         Well, I guess you can tell me
 9      whether --
10                      MR. CLEARY:       It's a yes or no question.
11                      THE WITNESS:       Yes, I did get a
12      response.
13      BY MR. RIVELA:
14                      Okay.    Did you ever get the video
15      footage?
16            A         I did not personally see it.
17                      Do you know whether the video
18      footage -- was there video footage that actually
19      showed what happened during the incident?
20            A         I didn't review it, so I can't answer
21      that.
22                      You don't know?
23            A         I don't know.
24                      Did anybody tell you whether there was
25      video footage that showed the situation that

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 1     happened involving Trevor Corley and Heath Lappe?
2            A         They did not.
3                      Did you ever follow up with anybody to
4      find out if that video footage existed?
5            A         I did.
6                      Did you get any sort of confirmation as
 7     to whether the video footage existed?
 8           A         The video -- I did get confirmation of
 9     that, yes.
10                     Okay.    But you were never allowed to
11     actually look at the video?
12           A         Correct.
13                     Were you given any explanation as to
14     why you couldn't look at the video?
15           A         I didn't ask.        If legal reviewed it, I
16     felt comfortable with that.
17                     Do you know whether that video was
18     preserved?
19           A         That's not in my jurisdiction.
20                     Well, as HR human resources
21     coordinator -- or I'm sorry, human resources
22     director, I'm sure you've had situations where
23     there's been an EEOC charge.
24                     In this case there was, right?               And
25     don't you normally --

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 1          A          I don't know that there was any solid
 2     information.        He was included in the James and
 3     company group that a couple people had mentioned
4      at the RV park.
5                      Okay.    Did you -- were there any
6      interviews of witnesses concerning the allegation
 7     about Adam Crews and the camera?                  Do you know
 8     whether or not the company did an investigation
 9     and interviewed other witnesses?
10           A         I don't know that.
11                     Okay.    Looking at Nabors/EEOC 011649,
12     did you end up interviewing somebody named
13     interviews Terence Smith concerning the
14     allegations made by Daniel -- by Duane Jewell?
15           A         This says Terence.          I will assume this
16     is Terence Smith.
17                     Did Terence Smith tell you that he felt
18     he was being discriminated based on race in
19     assignments?
20           A         No, I don't believe I see those words
21     anywhere in my notes.
22           Q         Okay.    Now, Terence Smith ended up
23     filing a charge of discrimination, right?                      Do you
24     know?
25           A         I think he was one of them.

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1      Nabors/EEOC 011652.
 2                     Does this page contain notes of an
 3     interview with Gary Watson?
4            A         Yes.    And I think this was about a week
 5     later.
6            Q         Week later than what?
 7           A         The other interviews.
 8           Q         Okay.    Now -- so, can you explain to
 9     me, did he tell you that there had been
10     separation?
11           A         Well, Gary Watson, the reason, I
12     believe, that this interview was conducted is,
13     after James and Brian were suspended, John Lewis
14     had a sit-down meeting with the entire coil
15     tubing department, had a question-and-answer
16     session.        The meeting ended with everybody
17     shaking hands.          John also opened his door to say,
18     come talk to me if you have an issue.
19                     Gary Watson reached out to John
20     directly and said, I'd like to speak.                      And I
21     believe that's why I came down and conducted this
22     interview.
23           Q         Did Gary Watson tell John Lewis during
24     the meeting -- did he identify employees who he
25     feel -- who were being discriminatory toward

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 1           A         Okay, I've read it.
 2                     Have you seen this e-mail before?                 Do
 3     you know, had you ever received it?
 4           A         I don't know if I received the e-mail
 5     or talked to John Lewis about it, but it is
 6     familiar to me.
 7           Q         Okay.     So did John Lewis have a
 8     discussion with you as to how to go about
 9     addressing Mr. Corley's claim that he's been --
10     that he doesn't want to participate in an
11     investigation based on threats?
12           A         I believe so, because I was still in
13     the Pleasanton office doing investigations on
14     this date.
15                     On October 5, 2012?
16           A         Yes.
17                     Did you speak with Trevor Corley
18     concerning his participation in the
19     investigation?
20           A         I did.
21                     What did you tell him?
22          A          I asked Trevor to continue
23     participating.           I told him that we appreciated
24     his participation thus far, that any type of
25     retaliation would not be tolerated from the

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1            A         He does.     Next Wednesday, actually.
2      He'll be a year.
3            Q         Okay.    And since we're in western
4      Pennsylvania, does this mean that you're a
5      Steeler fan?
6            A         Hundred percent.
 7           Q         Okay.    All right.       So let's talk about
 8     the investigation that you conducted all the way
 9     back in 2012.
10                     So when you first began hearing about
11     these issues, tell us what you did.
12           A         So it's our practice to take anything
13     seriously that we hear about, No. 1; and No. 2,
14     immediately investigate and look into it.
15                     So my first course of action, if I'm
16     not physically somewhere, is to jump on the phone
17     and get some information.              And then as soon as I
18     can physically get to a location, I like to go
19     there personally and start some investigations.
20           Q         Now, as part of your investigation, was
21     the Nabors corporate law department involved?
22           A         On a typical basis, they're not.                In
23     this investigation, they were very involved, and
24     they did drive the investigation.
25           Q         So this would -- the investigation you

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1      conducted into these claims is different in the
2      sense that the corporate law department is
3      typically not involved?
4           A          That is correct...,
5         firQ         But here they were actually driving the
6      investigation?
7           A          They drove the entire investigation.
8                      Okay.    And who were the people that you
9      were either reporting to or receiving directions
10     from on the legal side?
11           A         I worked with three different
12     attorneys; Laura Doerre, Grant Dorfman and Julia
13     Wright.
14                     Would you also be working with any
15     outside lawyers?
16           A         Yes.
17           Q         Do you happen to remember their names?
18           A         Elizabeth Kroeger.
19                     Okay.    So -- and then, of those four
20     people, was there maybe one in particular that,
21     you know, would spend most time on this issue or
22     that you reported to most?
23           A         I worked with Julia most closely.
24                     Okay.    And I want to talk -- maybe I
25     need to back up a little bit -- but in regards to

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1            A         No.
2            Q         All right.      So let me switch gears a
 3     little bit.           I realize this happened almost six
4      years ago, but how did you come to learn about
5      the race discrimination issues that were being
6      alleged or taking place in Pleasanton?
 7           A         When John Lewis had talked with Duane
 8     Jewell -- or Duane Jewell had come to talk to
 9     John Lewis, that is the -- the very first lump of
10     information we received to start investigating.
11           Q         And we've looked at documents.               So this
12     would have been in late September of 2012?                      Does
13     that --
14           A         That sounds right.
15           Q            sound correct?         Okay.
16                     So after Mr. Lewis brought you up to
17     speed about his conversation with Duane Jewell,
18     what do you do?
19           A         Got on the phone immediately that day,
20     made legal aware, because it was a discrimination
21     claim, and then I headed to Pleasanton
22     physically.
23           Q         To do your interviews?
24           A         Correct.
25           Q         Do you know how much time elapsed

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1      between when you first hear from Lewis and when
2      you go to Pleasanton?
3           A           It was the very next day.
4                       Okay.   And who directs you to go to
5      Pleasanton, if anyone?
6            A         So it was actually Julia Wright and
7      Elizabeth Kroeger.           Elizabeth was in Julia's
8      office.         She happened to be in that day.              And I
 9     walked up to talk to Julia and they said,                      You
10     need to physically go there."                And I left the
11     next morning.
12           Q         And so let's take a look at Exhibit 15.
13     These are some of your handwritten notes.
14           A          Okay.
15                     And my understanding is, these are the
16     notes that you took when you went down to
17     Pleasanton and started interviewing people.
18           A          Correct.
19                      Okay.   So before we dive into the
20     notes, I want to ask you just some general
21     questions.
22                     So what was your goal in regards to
23     these interviews?           What was -- what were you
24     trying to achieve?
25           A          My goal was -- and I think I stated

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1      time as they need to disclose anything they feel
2      like they should.
3                      Then in regards to the notes that you
4      took, do you feel like you captured everything of
5      significance that they told you?
6            A         Absolutely.       I take the notes for
 7     myself so that I can remember, and I also tell
 8     them that I'm taking them.               And they can see,
 9     everything they say, I'm writing it down.                      And
10     when I'm done with these notes, I then type them
11     up, with any additional thoughts I may have and
12     send them to legal so that we have good records.
13                     And do you feel like these notes
14     capture the concerns -- let me -- let me ask you
15     this way: I mean, is it possible that somebody
16     told you about something they viewed as
17     discriminatory but it's not written down in your
18     notes?
19           A         No.   No. 1, that's something very
20     important I wouldn't omit from my notes.                     And
21     No. 2, I have no benefit of not including that.
22                     Well, I mean, there is one benefit, and
23     that is, there's no record of the discrimination,
24     right?
25           A         I don't view that as a benefit.                My job

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1                                CERTIFICATE
2
       COMMONWEALTH OF PENNSYLVANIA,
3                                                         SS:
       COUNTY OF BLAIR.
4
         I, Susanna C. Englert, do hereby certify that
5      before me, a Notary Public in and for the
       Commonwealth aforesaid, personally appeared TRACEE
6      QUINNELL, who then was by me first duly cautioned
       and sworn to testify the truth, the whole truth,
7      and nothing but the truth in the taking of her oral
       deposition in the cause aforesaid; that the
8      testimony then given by her as above set forth was
       by me reduced to stenotypy in the presence of said
 9     witness, and afterwards transcribed by means of
       computer-aided transcription.
10
         I do further certify that this deposition was
11     taken at the time and place in the foregoing
       caption specified, and was completed without
12     adjournment.
13       I do further certify that I am not a relative,
       counsel or attorney of either party, or otherwise
14     interested in the event of this action.
15       IN WITNESS WHEREOF, I have hereunto set my hand
       and affixed my seAl of office at Altoona,
16     Pennqlvania, :Wehel4t day of June 2018.
17
            4&'c.                 L'




18     Susanna C. Englert, Notary Public
       My commission expires May 9, 2022
19
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25


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